                           Case 4:10-cr-00215-DPM                       Document 141           Filed 01/10/12               Page 1 of 8
~AO 245C          (Rev. 09/11) Amended Judgment in a Criminal Case                                                          (NOTE: Identify Changes with Asterisks(*))
                  Sheet I



                                               UNITED STATES DISTRICT COURT
                                 Eastern                                  District of                                       Arkansas          F1L E0
             UNITED STATES OF AMERICA                                                AMENDED JUDGMENT IN ~~i\i!Waa~
                                   v.                                                                                                      JAN 10 2012
                                                                                     Case Number: 4:1 0-cr-215-DPM-02
                          Christopher Guerra
                                                                                     USM Number: 78474-279       JAMES W
Date of Original Judgment: 12/22/2011                                                 Hugh Laws                              By:
(Or Date of Last Amended Judgment)                                                   Defendant's Attorney
                                                                                                                                                                         RK
Reason for Amendment:
D Correction of Sentence on Remand (18 U.S.C. 3742(t)(1) and (2))                    D Modification of Supervision Conditions (18 U.S.C. §§ 3563(c) or 3583(e))
D Reduction of Sentence for Changed Circumstances (Fed. R. Crim.                     D Modification oflmposed Term oflmprisonment for Extraordinary and
      P. 35(b))                                                                           Compelling Reasons (18 U.S.C. § 3582(c)(l))
D Correction of Sentence by Sentencing Court (Fed. R. Crim. P. 35(a))                D Modification oflmposed Term oflmprisonment for Retroactive Amendment(s)
ri/ Correction of Sentence for Clerical Mistake (Fed. R. Crim. P. 36)                     to the Sentencing Guidelines (18 U.S.C. § 3582(c)(2))

                                                                                     D Direct Motion to District Court Pursuant D 28 U.S. C. § 2255 or
                                                                                          D 18 U.S.C. § 3559(c)(7)
                                                                                     D Modification ofRestitution Order (18 U.S.C. § 3664)
THE DEFENDANT:
D      pleaded guilty to count(s)
D      pleaded nolo contendere to count(s)
       which was accepted by the court.
rit    was found guilty on count(s) _1_a_n_d_2_o_ft_h_e_l_n_d_ic_tm_e_nt_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
       after a plea of not guilty.
The defendant is adjudicated guilty of these offenses:
Title & Section                         Nature of Offense                                                              Offense Ended
 21 U.S.C. §§ 841(a)(1)

 & 846                                   Conspiracy to Distribute Marijuana, a Class B Felony                            4/22/2010                      1

                                         (Continued on next page)
       The defendant is sentenced as provided in pages 2 through                     12         of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
D      The defendant has been found not guilty on count(s)
D      Count(s)                                                  D is    Dare dismissed on the motion of the United States.
             It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenaant must notify the court and United States attorney of material changes in economtc circumstances.
                                                                                      12/1/2011....)'
                                                                                    . Date oflmposition of Judgment



                                                                                     Signature of Judge
                                                                                      D.P. Marshall Jr.                               U.S. District Judge
                                                                                     Name of Judge                                   Title of Judge

                                                                                     Date     /o ~v1
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AO 245C   (Rev. 09/11) Amended Judgment in a Criminal Case
          Sheet lA                                                                               (NOTE: IdentifY Changes with Asterisks(*))

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                                        ADDITIONAL COUNTS OF CONVICTION

Title & Section               Nature of Offense                                           Offense Ended
21 U.S.C. § 841 (a)(1) &       Aiding and Abetting Possession with Intent to Distribute

18 U.S.C. § 2                  Marijuana, a Class B Felony                                 4/22/2010                   2
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 AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 2 - Imprisonment                                                                     (NOTE: IdentifY Changes with Asterisks(*))

                                                                                                    Judgment- Page __3__ of               12
 DEFENDANT: Christopher Guerra
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                                                               IMPRISONMENT

      The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of
72 MONTHS on each count to run CONCURRENTLY




 lit The court makes the following recommendations to the Bureau of Prisons:
The Court recommends the defendant participate in the Bureau of Prisons RDAP program, if possible, or another residential
substance abuse treatment, and educational and vocational programs during incarceration. The Court further recommends
that the defendant be placed at FCI Bastrop to facilitate visitation with his family. (Continued)

 lit The defendant is remanded to the custody ofthe United States Marshal.
 D The defendant shall surrender to the United States Marshal for this district:
      D     at                                      D      a.m   D    p.m.      on

      D     as notified by the United States Marshal.

 D    The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

      D     before 2 p.m. on

      D     as notified by the United States Marshal.

      D     as notified by the Probation or Pretrial Services Office.


                                                                     RETURN
 I have executed this judgment as follows:




      Defendant delivered on                                                           to
  m__________________ with a certified copy of this judgment.



                                                                                               UNITED STATES MARSHAL


                                                                             By_________________________________________
                                                                                            DEPUTY UNITED STATES MARSHAL
AO 245C
                Case 4:10-cr-00215-DPM
           (Rev. 09/11) Amended Judgment in a Criminal Case
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           Sheet 2A- Imprisonment                                                               (NOTE: Identify Changes with Asterisks(*))

                                                                                                              4_ of
                                                                                              Judgment-Page _ _                   12
DEFENDANT: Christopher Guerra
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                                         ADDITIONAL IMPRISONMENT TERMS
(Recommendations - Continued): If placement at FCI Bastrop is not possible, the Court recommends that the defendant
be placed at the Bureau of Prisons facility that is (1) closest to the defendant's family in Orange Grove, Texas, and (2)
offers the RDAP program.
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 AO 245C      (Rev. 09/11) Amended Judgment in a Criminal Case
              Sheet 3 - Supervised Release                                                                  (NOTE: Identify Changes with Asterisks(*))

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                                                                                                         Judgment-Page _ _                     12
 DEFENDANT: Christopher Guerra
 CASE NUMBER: 4:10-cr-215-DPM-02
                                                          SUPERVISED RELEASE
 Upon release from imprisonment, the defendant shall be on supervised release for a term of

4 YEARS




          The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from
 the custody of the Bureau ofPnsons.                                                             ·
 The defendant shall not commit another federal, state, or local crime.
The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment ana at least two periodic drug tests
thereafter, as determined by the court.
 D      The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
 ~ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon. (Check, if applicable.)
 ~ The defendant shall cooperate in the collection of DNA as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall register with the state sex offender registration agency in the state where the defendant resides, works, or is a
        student, as directed by the probation officer. (Check, if applicable.)
 D      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
        If this judgment imposes a fine or restitution, it is a condition of supervised release that the defendant pay in accordance with
the Schedule of Payments slieet of this judgment.
         The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional
conditions on the attached page.

                                        STANDARD CONDITIONS OF SUPERVISION
   l)    the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3)    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
   5)    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6)    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7)    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8)    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9)    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the prooation officer;
  10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of
         any contraband observed in plain view of the probation officer;
  11)    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or questioned by a law enforcement officer;
  12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
  13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned ~y the defendant's criminal
         record, personal history, or characteristics and shall permit the probation officer to make such notifications and confirm the
         defenaant's compliance with such notification requirement.
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           Sheet 3A- Supervised Release                                                         (NOTE: IdentifY Changes with Asterisks(*))

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                                   ADDITIONAL SUPERVISED RELEASE TERMS
14) The defendant shall participate, under the guidance and supervision of the probation officer, in a substance abuse
treatment program, which may include testing, outpatient counseling, and residential treatment. Further, the defendant
shall abstain from the use of alcohol throughout the course of treatment.

15) Because the defendant is not a legal resident of this district, the period of supervised release is to be administered by
the district where the defendant is a legal resident.
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AO 245C    (Rev. 09/11) Amended Judgment in a Criminal Case
           Sheet 5 -Criminal Monetary Penalties                                                             (NOTE: IdentifY Changes with Asterisks(*))
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DEFENDANT: Christopher Guerra
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                                            CRIMINAL MONETARY PENALTIES
    The defendant must pay the following total criminal monetary penalties under the schedule of payments on Sheet 6.
                    Assessment                                                                              Restitution
TOTALS           $ 200.00                                           $                                     $ 0.00


    The determination of restitution is deferred until
    entered after such determination.
                                                       ------ . An Amended Judgment in a Criminal Case (AO 245C) will be

D The defendant shall make restitution (including community restitution) to the following payees in the amount listed below.
    If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise
    in the priority ~rder or pe~cent!lge payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
    before the Umted States Is pmd.

Name of Payee                                                   Total Loss*                  Restitution Ordered      Priority or Percentage




TOTALS                                                          $                             $               0.00

D    Restitution amount ordered pursuant to plea agreement $ - - - - - - - - - -

D    The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
     fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(t). All of the payment options on Sheet 6 may be subject
     to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

D    The court determined that the defendant does not have the ability to pay interest, and it is ordered that:

     D the interest requirement is waived for          D fine           D restitution.
     D the interest requirement for            D fine          D restitution is modified as follows:


*Findings for the total amount oflosses are required under Chapters 109A, 110, llOA, and 113A of Title 18 for offenses committed on or
after September 13, 1994, but before April23, 1996.
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AO 245C     (Rev. 09/11) Amended Judgment in a Criminal Case
            Sheet 6 - Schedule of Payments                                                                (NOTE: Identity Changes with Asterisks(*))

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DEFENDANT: Christopher Guerra
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                                                    SCHEDULE OF PAYMENTS

Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties shall be due as follows:

A    lit Lump sum payment of$ _2_0_0_._0_0_ _ __ due immediately, balance due
           D   not later than                                      , or
           D   in accordance with     D C,        D D,         D   E,or    it'F below; or

B    D     Payment to begin immediately (may be combined with             D C,       D D, or    D F below); or
C    D     Payment in equal                  (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                       (e.g., months or years), to commence                (e.g., 30 or 60 days) after the date of this judgment; or

D    D     Payment in equal                   (e.g., weekly, monthly, quarterly) installments of $                  over a period of
                        (e.g., months or years), to commence                (e.g., 30 or 60 days) after release from imprisonment to a
           term of supervision; or

E    D     Payment during the term of supervised release will commence within               (e.g., 30 or 60 days) after release from
           imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

F    lit Special instructions regarding the payment of criminal monetary penalties:
          No fine is imposed because the defendant is not able and is not likely to become able to pay all or part of a fine,
          even with the use of a reasonable installment schedule. Imposition of a fine would also unduly burden the
          defendant's dependents.



Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during the period of imprisonment. All criminal monetary {lenalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.




D    Joint and Several

     Defendant and Co-Defendant Names and Case Numbers (including defendant number), Joint and Several Amount, and
     corresponding payee, if appropriate.




D    The defendant shall pay the cost of prosecution.

D    The defendant shall pay the following court cost(s):

D    The defendant shall forfeit the defendant's interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
